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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA            :
                                    :    CRIMINAL ACTION NO. 07-525 (MLC)
     v.                             :
                                    :    NOTICE OF PEREMPTORY TRIAL DATE
SHERMAN HOUSER,                     :         AND ATTACHMENT ORDER
                                    :
     Defendant.                     :
                                    :

     This action being the subject of an Order entered on January

29, 2008, setting forth a schedule for pretrial proceedings and

trial, pursuant to the Speedy Trial Act, 18 U.S.C. § 3161; and

the parties having appeared on this date for arraignment on a

Superseding Indictment which reflected the elimination from the

caption of two co-defendants; and the matter being ready for

trial on the established schedule;

     IT IS on this       9th   day of May, 2008, ORDERED THAT A

PEREMPTORY TRIAL SCHEDULE HAS BEEN IMPOSED AS FOLLOWS:               Bruce

Throckmorton, Esq., attorney for SHERMAN HOUSER, and the assigned

Assistant United States Attorney, James T. Kitchen, AUSA, are

hereby attached to this Court for trial commencing at 9:00 a.m.

on Tuesday, June 3, 2008, and on each subsequent weekday until

trial is completed.       They are also attached to this Court for a

pretrial conference and motions argument at 1:00 p.m. on Friday,

May 23, 2008.



                                         s/
                                    MARY L. COOPER
                                    United States District Judge
